                           IN THE UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF PENNSYLVANIA


       In re: JAMES SIMMONS and                      :
              KEISHA SIMMONS                         :
                                                     :     No: 19-01991-RNO
                             Debtors                 :     Chapter 13
                                                     :

                          STIPULATION RESOLVING OBJECTION TO
                      DEBTORS’ MOTION TO INCUR POST-PETITION DEBT


              Now comes Debtors and Creditor, Wilmington Savings Fund Society, FSB, not in its

       individual capacity, but solely as Trustee of NYMT Loan Trust I (the “Creditor”), to stipulate

       to the resolution of Association’s Objection to Debtors’ Motion to Incur Post-Petition Debt,

       and in support thereof avers:

              1.      Debtors filed a Motion to Incur Post-Petition Debt on or about March 4, 2021

                      to borrow certain sums (“the subject loan”).

              2.      Association timely objected to said Motion on March 17, 2021.

              3.      Through discussions between the parties, Debtors and Creditor have agreed to

                      the following stipulation to be entered of record and approved by this

                      Honorable Court as follows:

                      A.      Debtors shall ensure that the loan of Creditor shall be paid in full

                              subject to proper payoff on closing of Debtors’ refinanced mortgage

                              loan; and

                      B.      Creditor shall withdraw its Objection to Debtors’ Motion to Incur Debt.

              4.      The undersigned represent that they have authority to enter into the present

                      stipulation.

Case 5:19-bk-01991-HWV       Doc 65 Filed 03/25/21 Entered 03/25/21 07:32:22                  Desc
                             Main Document    Page 1 of 2
             5.    The undersigned request to have this stipulation entered as an order of court.



       KML Law Group, P.C.                       ARM LAWYERS


       /s/Rebecca A. Solarz, Esq.
       ______________________________            ____________________________
       REBECCA A. SOLARZ, ESQ.                   PATRICK J. BEST, ESQ.
       Attorney for Creditor                     Counsel for Debtors




Case 5:19-bk-01991-HWV    Doc 65 Filed 03/25/21 Entered 03/25/21 07:32:22                Desc
                          Main Document    Page 2 of 2
